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 6                                UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF ARIZONA

 8    United States of America,
                                                               No. 97-5193M
 9                 Plaintiff,
              v.                                                 ORDER
10
      Walter Mitchell,
11
                   Defendant.
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13
14       Pursuant to the Government’s Motion to Dismiss Unlawful Flight to Avoid Prosecution
15   complaint and good cause appearing,
16       IT IS HEREBY ORDERED dismissing the complaint against WALTER MITCHELL
17   without prejudice.
18       IT IS HEREBY ORDERED the arrest warrant pertaining to this complaint be quashed.
19       Excludable delay under 18 U.S.C. § 3161 is found to commence on                 for
20   a total of           days.
21       DATED this             day of          , 2010.
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                                                          HONORABLE EDWARD C. VOSS
24                                                        United States Magistrate Judge
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